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                              COURT OF APPEALS
                           TENTH DISTRICT OF TEXAS

                              December 27, 2013

                             No. 10-12-00215-CR

                           CHRISTOPHER LEE PICKETT
                                     v.
                             THE STATE OF TEXAS


                        From the 278th District Court
                             Leon County, Texas
                          Trial Court No. CM-11-573

                                  JUDGMENT

      This Court has reviewed the briefs of the parties and  the  record  in
this proceeding as relevant to the issue  raised  and  finds  no  reversible
error is presented.  Accordingly the trial court’s judgment  signed  on  May
21, 2012 is affirmed.
      A copy of this judgment will be certified by the Clerk of  this  Court
and delivered to the trial court clerk for enforcement.
                                  SHARRI ROESSLER, CLERK


                                  By:________________________________
                                        Nell Hegefeld, Deputy Clerk
